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     Attorney for Matthew Gillum
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 4
                             IN THE UNITED STATES DISTRICT COURT
 5
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,                       )   Case No. 2:13-mj-00223-KJN
               Plaintiff,                            )
 8                                                   )
               vs.                                   )   STIPULATION AND [PROPOSED]
 9                                                   )   ORDER
10   MATTHEW GILLUM,                                 )
             Defendant                               )   Date: 9/19/13
11                                                   )   Time: 2:00 p.m.
                                                     )   Judge: Kendall J. Newman
12                                                   )
13
14             IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the

15   Preliminary Hearing currently set for September 5, 2013 at 2:00 p.m. is continued to

16   September 19, 2013, at 2:00 p.m. pursuant to Federal Rule of Criminal Procedure, Rule

17   5.1(d).

18             It is further stipulated that good cause exists to extend the time for the preliminary

19   hearing within the meaning of Rule 5.1(d). The parties further stipulate that the ends of

20   justice are served by the Court excluding time from September 5, 2013 to September 19,

21   2013, so that counsel for the defendant may have reasonable time necessary for

22   preparation, taking into account the exercise of due diligence. 18 U.S.C. Section

23   3161(h)(7)(B)(iv). The defendant, defense counsel and the government stipulate and

24   agree that the ends of justice outweigh the best interest of the public and the defendant in

25   a speedy trial. 18 U.S.C. Section 3161(h)(7)(A); Local Code T-4, preparation of counsel.

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 1   IT IS SO STIPULATED.
 2
 3   DATED: September 3, 2013                         By:     /s/ Thomas A. Johnson_____
                                                              THOMAS A. JOHNSON
 4                                                            Attorney for Defendant
                                                              Matthew Gillum
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     DATED: September 3, 2013                                 BENJAMIN WAGNER
 6                                                            United States Attorney
 7                                                      By: /s/ Thomas A. Johnson for
     _______                                                JUSTIN LEE
 8                                                          Assistant U.S. Attorney
 9
10
11
                                              ORDER
12
13          IT IS HEREBY ORDERED: That the Preliminary Hearing scheduled for
14   September 5, 2013, is continued to September 19, 2013. It is further ORDERED that the
15   time under the Speedy Trial Act between today’s date and September 19 2013, is
16   excluded under Local Code T-4, and 18 U.S.C. § 3161(h)(7)(B)(iv) to ensure adequate
17   time for preparation of counsel. For the reasons set forth above, the court finds that the
18   ends of justice served by a continuance outweigh the best interests of the public and the
19   defendants in a speedy trial and therefore excludes time through September 19, 2013.
20   Dated: September 3, 2013.
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